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                                              [Coat of arms]

                               General Prosecutor’s Office of the Republic



    NORIS MARLENE FLORES URQUIZA, GENERAL SECRETARY OF THE PROSECUTOR’S OFFICE OF THE
    REPUBLIC: HEREBY STATES: that the registers filed in this institution and the Tax Office that are
    part of it have been checked, and to this date NO file has been found against
              . And for the purposes it deems convenient, this certificate is issued, signed and sealed
    in the Public Ministry, General Prosecutor’s Office of the Republic, General Secretary, Antiguo
    Cuscatlán, on the first day of November of the year two thousand seventeen.

    [Signature]

    [Stamp:] General Prosecutor’s Office of the Republic, General Secretary, El Salvador C.A.
    [illegible]

       THE UNDERSIGNED NOTARY based on                         [Stamp:] NUBIA CRISTINA CARDOZA PERAZA,
       Article thirty of the Notarial exercise Act of          NOTARY
       the Voluntary Jurisdiction and of other
       proceedings CERTIFIES: That this photocopy              [Illegible]
       is a true copy of the original against which it
       was checked. In the city of San Salvador, on            [Signature]
       the ninth day of November of the year two
       thousand seventeen.




                                                                                                     Exhibit 24
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                             TRANSLATION CERTIFICATION


 Date: August 17, 2018


 To whom it may concern:

 This is to certify that the attached translation from Spanish into English is an accurate
 representation of the document received by this office.

 The document is designated as:
    x Letter regarding                           , El Salvador General Prosecutor’s Office of the
        Republic


 Sarah Hall, Project Manager in this company, attests to the following:

 “To the best of my knowledge, the aforementioned document is a true, full and accurate
 translation of the specified document.”




 Signature of Sarah Hall




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